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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DENISE DAICHENDT and ADA “JUNE”                      )
ODELL, individually, and on behalf of all            )
others similarly situated,                           )
                                                     )
               Plaintiffs,                           )      Case No. 22 CV 3318
                                                     )
       v.                                            )      Judge Robert W. Gettleman
                                                     )
CVS PHARMACY, INC.,                                  )
                                                     )
               Defendant.                            )

                                            ORDER

       Denise Daichendt and Ada “June” Odell (“plaintiffs”) bring a first amended class action

complaint against defendant CVS Pharmacy, Inc., alleging violations of § 15(b) of the Illinois

Biometric Information Privacy Act (“BIPA”). On March 7, 2023, defendant moved to dismiss

plaintiffs’ first amended complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) (Doc.

24). The court denies defendant’s motion.

       On May 20, 2022, plaintiffs filed their original complaint against defendant CVS

Pharmacy, Inc. in state court pursuant to §§ 15(a), (b), and (c) of BIPA. Defendant removed the

action to federal court on June 24, 2022. On August 5, 2022, defendant moved to dismiss the

complaint. On December 2, 2022, the court remanded plaintiffs’ claims under §§ 15(a) and

15(c) of BIPA for lack of standing, and dismissed plaintiffs’ claim under § 15(b) because it

determined that plaintiffs did not “allege that they provided defendant with any information, such

as their names or physical or email addresses, that could connect the voluntary scans of face

geometry with their identities.” Daichendt v. CVS Pharmacy, Inc., No. 22 CV 3318, 2022 WL

17404488, at *5 (N.D. Ill. Dec. 2, 2022).



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       On December 12, 2022, plaintiffs filed a motion to reconsider under Federal Rule of Civil

Procedure 59(e), and to vacate the judgment pursuant to Federal Rule 60(b) with leave to file an

amended complaint pursuant to Federal Rule 15(a)(2), which the court granted. The court

modified its dismissal of plaintiffs’ claim under § 15(b) of BIPA because plaintiffs had not

previously amended their complaint, and the court’s December 2022 order did not conclude that

amendment would be futile. In fact, plaintiffs proposed amended complaint alleges additional

facts that addressed the court’s concerns with plaintiffs’ claim under § 15(b). On February 7,

2023, plaintiffs filed their first amended complaint, and allege that they, and other similarly

situated individuals, entered their names, email addresses, and phone numbers into a computer

terminal inside defendant’s stores prior to scanning their biometric identifiers. Defendant moves

to dismiss plaintiff’s first amended complaint.

       “To survive a motion to dismiss, a complaint must allege sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). For a claim to have “facial plausibility,” a plaintiff must plead “factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. In its instant motion to dismiss, defendant argues that plaintiffs’

additional factual allegations have not “cured the fundamental deficiency that ailed their original

complaint” because “they have not added . . . plausible allegations that the Photo System ‘made

defendant capable of determining their identities.’”

       According to defendant, there is a fundamental difference between identification of

“biometric identifiers” and detection of “biometric features.” In other words, defendant argues

that BIPA contemplates a process that determines “that is Mona Lisa’s smile,” and its photo

system determines “that is (or is not) a smile” instead. Defendant argues that collecting data on



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an “abstract binary feature,” like “eyes open” or “eyes closed,” is “not associated with an

individual’s identity,” making plaintiffs’ claim that defendant’s photo system improperly collects

and stores their biometric identifiers, implausible. The court disagrees. As the court concluded

in its December 2, 2022, order, the relevant inquiry is whether defendant’s collected data makes

defendant capable of identifying plaintiffs. Plaintiffs plausibly allege that defendant collected

and stored their personal contact data (“real-world identifying information”), such as their names

and email addresses, which made defendant capable of identifying them when associated with

scans of their face geometry (“biometric identifiers”).

       Plaintiffs’ pleading does not contradict their claims. Rather, defendant emphasizes the

purpose of the photo system, which is to “check” and “verify” an individual’s features for

passport photographs, and the output of the photo system, which is a certificate with checked

boxes for each government-required parameter. The court agrees with defendant that the photo

system’s output addresses non-identifying features, such as closed or open eyes, and closed, non-

smiling mouths. The relevant inquiry, however, is whether defendant’s photo system collects or

stores plaintiffs’ identifying biometric data during the process of verifying plaintiffs’ features.

The court concludes that plaintiffs plausibly allege that it does so.

       According to plaintiffs, “CVS could not certify the Biometric Passport Photos as it does

without collecting biometric identifiers because verifying the specified criteria—eyes open, eyes

looking straight ahead, mouth unsmiling, facial position, head size and so on—necessarily

requires mapping and measuring the facial features.” They cite Pruitt v. Par-A-Dice Hotel

Casino, No. 20-CV-1084-JES-JEH, 2020 WL 5118035 (C.D. Ill. Aug. 31, 2020), and Kukovec

v. Estee Lauder Cos., Inc., No. 22 CV 1988, 2022 WL 16744196 (N.D. Ill. Nov. 7, 2022), to

suggest that they are not required to plead technical details about defendant’s device or software.



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The court agrees that these cases are instructive at this stage of litigation.

         Defendant attempts to bolster its point with narrative examples. According to defendant,

“[t]he success of Plaintiffs’ claims rises and falls upon the question of whether the Photo System

data is unique to an individual.” Defendant argues that “one could not recognize Bob on the

street based upon a description using the Certificate factors,” and a hypothetical intern, faced

with a chart of output information from the photo system’s printed certificates, could not “re-

identify” an individual.

         These hypotheticals miss the point. The problem is not the certificate (i.e., the photo

system’s output) or the purpose of the photo system (i.e., to ensure passport-ready photographs).

The problem, as plaintiffs plausibly allege, is that in order to determine whether an individual’s

eyes are open or closed, or whether the individual’s mouth is closed or smiling, the photo system

would necessarily have to scan the individual’s face. Defendant does not explain how the photo

system could verify whether an individual’s eyes are open, or mouth closed, without determining

that the photograph in fact shows a face with eyes and a mouth. Defendant’s own hypotheticals

show why it is reasonable to infer that the photo system scans face geometry to work, and its

website does not explain this part of the technological process.

         It is true that plaintiffs do not allege why defendant would want to store plaintiffs’

biometric data, or use it to identify them, but defendant cites no binding authority to suggest that

§ 15(b) requires plaintiffs to plead defendant’s motive. 1 What § 15(b) requires is that an entity

collects or stores biometric data that is capable of identifying an individual. Plaintiffs have




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 In fact, Kukovec suggests the opposite: “Under Illinois law, violation of a statutory standard of care is prima facie
evidence of negligence. In the context of BIPA, this means that as long as a plaintiff adequately alleges
impermissible data possession and collection, she doesn't need to separately allege negligence.” Kukovec v. Estee
Lauder Companies, Inc., No. 22 CV 1988, 2022 WL 16744196, at *8 (N.D. Ill. Nov. 7, 2022) (citing Cuyler v.
United States, 362 F.3d 949, 952 (7th Cir. 2004)).

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stated a claim under § 15(b), where they allege that defendant scanned their face geometry to

evaluate whether their face, as photographed, meets the government’s passport requirements, and

where their scan is associated with their personal contact information in defendant’s photo

system. Accordingly, the court denies defendant’s motion to dismiss (Doc. 24). Defendant is

directed to answer plaintiffs’ first amended complaint on or before May 24, 2023. The parties

are directed to enter a joint status report using this court’s form on or before May 31, 2023.



                                      ENTER:



                                              _________________________________________
                                              Robert W. Gettleman
                                              United States District Judge
DATE: May 4, 2023




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